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                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     DALLAS DIVISION


    In re:                                                          Chapter 11

    IMPEL PHARMACEUTICALS INC., et al. 1                            Case No. 23-80016 (SGJ)

                              Debtors.                              (Jointly Administered)


                          NOTICE OF CURE AMOUNTS
                      AND POTENTIAL ASSUMPTION AND
                 ASSIGNMENT OF EXECUTORY CONTRACTS AND
         UNEXPIRED LEASES IN CONNECTION WITH THE SALE TRANSACTION

PLEASE TAKE NOTICE:

         On December 20, 2023, the debtors and debtors in possession in the above-captioned
chapter 11 cases (collectively, the “Debtors”) filed with the United States Bankruptcy Court for
the Northern District of Texas (the “Court”) their Motion for Entry of an Order (I)(A) Approving
the Bid Procedures; (B) Authorizing the Debtors to Select JN Bidco LLC as the Stalking Horse
Purchaser Substantially Along the Terms Defined in the Stalking Horse APA and Approving Bid
Protections (C) Establishing Bid Deadlines, an Auction, and a Sale Hearing; (D) Approving the
Form and Manner of Sale Notice; (E) Approving Assignment and Assumption Procedures;
(F) Approving the Form and Manner of Potential Assumption and Assignment Notice; and
(II)(A) Authorizing the Sale of Assets Free and Clear; (B) Approving the Assumption and
Assignment of Designated Contracts; and (III) Granting Related Relief [Docket No. 18] (the “Bid
Procedures Motion”) 2 seeking entry of orders, among other things: (i)(a) approving procedures for
the solicitation of bids in connection with the proposed sale of substantially all of the Debtors’
assets, (the “Bid Procedures”), (b) authorizing the Debtors to select JN Bidco LLC as the Stalking
Horse Purchaser substantially along the terms defined in the Stalking Horse APA and approving
Bid Protections, (c) establishing the dates and deadlines set forth in the Bid Procedures, including
the Bid Deadline, Auction, and Sale Hearing, (d) approving the form of Sale Notice, (e) approving
the Assumption and Assignment Procedures for the Designated Contracts (if any), (f) approving
the form of Assignment Notice, and (ii)(a) authorizing the sale of the Assets free and clear of all
pledges, liens, security interests, encumbrances, claims, charges, options, and interests except to
the extent otherwise set forth in the purchase agreement executed by the Debtors and the Winning
Bidder and (b) approving the assumption and assignment of Designated Contracts (if any), and
(iii) granting related relief.


1
  The Debtors in this chapter 11 case, together with the last four digits of the Debtor’s federal tax identification number,
are: Impel Pharmaceuticals Inc. (8238); and Impel NeuroPharma Australia Pty Ltd (N/A). The Debtors’ service
address is 201 Elliot Avenue West, Suite 260, Seattle, WA 98119.
2
  Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Bid Procedures Motion,
the Bid Procedures, or the Bid Procedures Order, as applicable.
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        On January 10, 2024 at 9:30 a.m. Central Time, the Court will hold a hearing on the Bid
Procedures Motion (the “Bid Procedures Hearing”), at which the Debtors will seek entry of an
order (the “Bid Procedures Order”), substantially in the form attached to the Bid Procedures
Motion, approving the Bid Procedures and granting certain other relief sought in the Bid
Procedures Motion, including approval of the Assumption and Assignment Procedures, which
establish the process by which any executory contracts designated by the Winning Bidder shall be
assumed by the Debtors and assigned to the Winning Bidder. The Bid Procedures Hearing will be
held at the same place and in the same manner as described in the section titled Cure Objection
Hearing, below. All recipients of this notice should carefully read the proposed Bid Procedures
Order and the Assumption and Assignment Procedures in their entirety.

        You are receiving this notice (the “Cure Notice”) because you may be a counterparty
to an executory contract or unexpired lease of the Debtors that may be assumed and assigned
to the Winning Bidder, or as otherwise contemplated in the Winning Bid (each, a “Potentially
Assigned Contract”). Each of the Potentially Assigned Contracts that may be assumed and
assigned in connection with a Sale Transaction with a Winning Bidder and the Debtors’ calculation
of the Cure Amounts with respect thereto are set forth on Exhibit A hereto. The Cure Amounts
are the only amounts proposed to be paid upon the assumption and assignment of the Potentially
Assigned Contracts.

        The inclusion of any contract or lease on Exhibit A shall not constitute or be deemed a
determination or admission by the Debtors that such contract or other document is, in fact, an
executory contract or unexpired lease within the meaning of the Bankruptcy Code (all rights with
respect thereto being expressly reserved).

       Notwithstanding the inclusion of any Potentially Assigned Contract on Exhibit A,
neither the Debtors nor any Winning Bidder(s) are obligated to assume or assign any
Potentially Assigned Contract identified on Exhibit A. The Cure Notice is only advising
parties of the Debtors’ proposed Cure Amounts should the Potentially Assigned Contract be
assumed or assumed and assigned. Subsequent notice will be provided if your Potentially
Assigned Contract is proposed to be assumed or assumed and assigned to a Winning Bidder.
If you disagree with the proposed Cure Amounts, you must file an objection in accordance
with the instructions below.

                                            Objections

       A. Cure Objections

        Any objection to potential assumption, assignment, or designation of a Potentially
Assigned Contract identified on Exhibit A, the subject of which objection is the Debtors’ proposed
Cure Amounts, if any, must (i) be in writing; (ii) comply with the Bankruptcy Rules and the
Bankruptcy Local Rules; (iii) be filed with the Clerk of the Court, by electronic submission through
PACER (Public Access to Court Electronic Records at https://ecf.txnb.uscourts.gov/), or if
submitted through non- electronic means, by U.S. Mail or other hand delivery system at the
following address: United States Bankruptcy Court, 1100 Commerce St, #5300, Dallas, TX 75242,
on or before 4:00 p.m. (CT) on January 26, 2024 (the “Cure Objection Deadline”); (iv) be
served, so as to be actually received on or before the Cure Objection Deadline, upon the following
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via email: (i) proposed counsel to the Debtors, Sidley Austin LLP, Attn: Rakhee V. Patel
(rpatel@sidley.com) and Jackson T. Garvey (jgarvey@sidley.com), (ii) proposed special corporate
counsel to the Debtors, Fenwick & West, LLP, Attn: Alan Smith (acsmith@fenwick.com), Ethan
Skerry (eskerry@fenwick.com), and Matthew McCabe (mmccabe@fenwick.com); (iii) counsel to
any official committee of unsecured creditors appointed in the Debtors’ chapter 11 cases; (iv) the
Office of the United States Trustee, 1100 Commerce Street, Room 976, Dallas, Texas 75242, Attn:
Lisa L. Lambert (Lisa.L.Lambert@usdoj.gov); and (v) counsel to the Stalking Horse Purchaser,
Honigman LLP, Attn: Scott Kitei (skitei@honigman.com) and Gray Reed, Attn: Aaron Kaufman
(akaufman@grayreed.com) (collectively, the “Objection Notice Parties”); and (vi) state with
specificity the legal and factual grounds for such objection, including, without limitation, the Cure
Amounts the Counterparty believes is required to cure defaults under the relevant Executory
Contracts or Unexpired Leases. Any objections solely on the basis of adequate assurance of future
performance must be filed in the manner described in the foregoing sentence and served on the Objection
Notice Parties by no later than 4:00 p.m (CT) on January 30, 2024.

     IF A COUNTERPARTY FAILS TO FILE WITH THE BANKRUPTCY COURT
AND SERVE ON THE OBJECTION NOTICE PARTIES A TIMELY CURE OBJECTION,
THE COUNTERPARTY SHALL BE FOREVER BARRED FROM ASSERTING ANY
OBJECTION WITH REGARD TO THE AMOUNT TO CURE ANY DEFAULT UNDER
THE APPLICABLE POTENTIALLY ASSIGNED CONTRACT. THE CURE AMOUNTS
SET FORTH ON EXHIBIT A HERETO SHALL BE CONTROLLING AND WILL BE
THE ONLY AMOUNT NECESSARY TO CURE OUTSTANDING DEFAULTS UNDER
THE APPLICABLE POTENTIALLY ASSIGNED CONTRACT UNDER BANKRUPTCY
CODE SECTION 365(B), NOTWITHSTANDING ANYTHING TO THE CONTRARY IN
THE POTENTIALLY ASSIGNED CONTRACT, OR ANY OTHER DOCUMENT, AND
THE APPLICABLE COUNTERPARTY SHALL BE FOREVER BARRED FROM
ASSERTING ANY ADDITIONAL CURE OR OTHER AMOUNTS WITH RESPECT TO
SUCH POTENTIALLY ASSIGNED CONTRACT AGAINST THE DEBTORS, ANY
WINNING BIDDER, OR THE PROPERTY OF ANY OF THEM.

       B. Adequate Assurance Objection

        As stated, this notice does not indicate if your Potentially Assigned Contract will be
assumed, rejected, or assumed and assigned to a Winning Bidder. If your Potentially Assigned
Contract is proposed to be assumed or assumed and assigned, subsequent notice will be provided.
Any objections to an assignee’s adequate assurance of future performance are preserved and
the procedures for such adequate assurance objections will be set forth in the subsequent
notice.

                                     Cure Objection Hearing

       Cure Objections that cannot be resolved by the parties will be heard by the Bankruptcy
Court on February 1, 2024 at 9:30 a.m. (prevailing Central Time) or as soon thereafter as such
Cure Objection may be heard. You may participate in the Hearing either remotely by an audio
and video connection or in person.
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         Remote Participation Instructions. Audio communication will be by use of the Court’s dial-
in facility. You may access the facility at 1.650.479.3207. Video communication will be by use
of the Cisco WebEx platform. Connect via the Cisco WebEx application or click the link on Judge
Jernigan’s home page. The meeting code is 479 393 582. Click the settings icon in the upper right
corner and enter your name under the personal information setting.

      In Person Instructions. If you wish to attend the hearing in person, the hearing will be
conducted at Courtroom 1, floor 14, 1100 Commerce Street, Dallas, TX 75242-1496.

       Hearing Appearances. If you intend to appear electronically, hearing appearances must be
made electronically in advance of electronic hearings. To make your appearance, click the
“Electronic Appearance” link on Judge Jernigan’s home page. Select the case name, complete the
required fields and click “Submit” to complete your appearance.

                              [Remainder of page intentionally left blank]
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Dated: January 5, 2024
Dallas, Texas                                SIDLEY AUSTIN LLP

                                             /s/ Rakhee V. Patel
                                             Samuel A. Newman (admitted pro hac vice)
                                             555 West Fifth Street
                                             Los Angeles, California 90013
                                             Telephone:     (213) 896-6000
                                             Facsimile:     (213) 896-6600
                                             Email:         sam.newman@sidley.com

                                             Rakhee V. Patel (TX Bar No. 00797213)
                                             Nathan C. Elner (admitted pro hac vice)
                                             Parker G. Embry (TX Bar No. 24126826)
                                             Chelsea M. McManus (TX Bar No. 24131499)
                                             2021 McKinney Avenue, Suite 2000
                                             Dallas, Texas 75201
                                             Telephone: (214) 981-3300
                                             Facsimile:    (214) 981-3400
                                             Email:         rpatel@sidley.com
                                                            nelner@sidley.com
                                                            parker.embry@sidley.com
                                                            cmcmanus@sidley.com

                                             Jackson T. Garvey (admitted pro hac vice)
                                             One South Dearborn
                                             Chicago, IL 60603
                                             Telephone:    (312) 853-7000
                                             Facsimile:    (312) 853-7036
                                             Email:        jgarvey@sidley.com

                                             Proposed Counsel to the Debtors and Debtors in
                                             Possession
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                                     Certificate of Service

        I certify that on January 5, 2024, I caused a copy of the foregoing document to be served
by the Electronic Case Filing System for the United States Bankruptcy Court for the Northern
District of Texas.

                                                               /s/ Rakhee V. Patel
                                                               Rakhee V. Patel
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                                  Exhibit A

                                Cure Amounts
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         Debtor               Vendor                                              Contract Title per Company                        Address                                                      Total
Impel Pharmaceuticals, Inc.   Symphony Health Solutions Corporation               Master Services Agreement                         4130 ParkLake Ave. Suite 400 Raleigh, NC 27612           $   482,358.75
Impel Pharmaceuticals, Inc.   Good Apple                                          Statement of Work                                 5-9 Union Sq W, 4th Fl New York, NY 10003                $   292,661.03
Impel Pharmaceuticals, Inc.   Pharmaceutical Data Services                        Master Services Agreement                         3000 Whitney Ave. Box 138 Hamden, CT 06518               $   201,500.00
Impel Pharmaceuticals, Inc.   TrnDigital, LLC                                     Master Services Agreement                         200 Portland St, 5th Fl Boston, MA 02114                 $    82,113.90
Impel Pharmaceuticals, Inc.   Citeline                                            License Agreement                                 52 Vanderbilt Ave New York, NY 10017                     $    56,921.70
Impel Pharmaceuticals, Inc.   Med Communications, Inc.                            Master Services Agreement                         5100 Poplar Ave, Suite 450, Memphis, TN 38137            $    53,276.00
Impel Pharmaceuticals, Inc.   Shop-PR LLC                                         Master Services Agreement                         140 Broadway 28th Floor New York, NY 10005               $    42,000.00
Impel Pharmaceuticals, Inc.   Two Labs Holdings LLC                               Master Services Agreement                         110 Riverbend Ave, Ste 100 Powell, OH 43065              $    35,290.30
Impel Pharmaceuticals, Inc.   CPA Global Limited                                  Renewal Services Agreement                        2318 Mill Rd, 12th Fl Alexandria, VA 22314               $    33,378.32
Impel Pharmaceuticals, Inc.   QPharma, Inc.                                       Master Services Agreement                         22 South St Morristown, NJ 07960                         $    33,069.64
Impel Pharmaceuticals, Inc.   CFI Workspace                                       Invoice                                           7001 N Park Dr Pennsauken Township, NJ 08109             $    31,290.56
Impel Pharmaceuticals, Inc.   Donnelley Financial Solutions                       Subscription Order Form                           35 W Wacker Dr Chicago, IL 60601                         $    31,060.88
Impel Pharmaceuticals, Inc.   CCG Corporate Mailings, Inc.                        Intercompany Quality Assurance Agreement          14 Henderson Dr, West Caldwell, NJ 07006                 $    29,956.62
Impel Pharmaceuticals, Inc.   Juice Pharma Worldwide, LLC                         Master Service Agreement                          132 W 31st St New York, NY 10001                         $    26,000.00
Impel Pharmaceuticals, Inc.   Clinigen CSM, Inc                                   Statement of Work                                 300 Technology Dr Malvern, PA 19355                      $    25,156.66
Impel Pharmaceuticals, Inc.   Imprint Publication Science                         Statement of Work                                 3 Columbus Cir, 8th Fl New York City, NY 10019           $    17,684.01
Impel Pharmaceuticals, Inc.   Healthcare Alliance Group                           Master Service Agreement                          101 Laurel Rd, Ste 100 Voorhees, NJ 08043                $    14,914.98
Impel Pharmaceuticals, Inc.   Mainehealth                                         Research Service Agreement                        1 Dana Ct Westbrook, ME 04092                            $    14,357.00
Impel Pharmaceuticals, Inc.   CobbleStone Systems Corp.                           Cobblestone Software Hosted Software License      428 S White Horse Pike Lindenwold, NJ 08021              $    13,894.25
                                                                                  Agreement
Impel Pharmaceuticals, Inc.   InsightSoftware                                     Keap Business Associate Agreement                 8529 Six Forks Rd Raleigh, NC 27615                      $    12,107.99
Impel Pharmaceuticals, Inc.   Marketo, Inc                                        Business Associate Addendum                       901 Mariners Island Blvd, Ste 200 San Mateo, CA 94404    $    10,074.81

Impel Pharmaceuticals, Inc.   University of Washington                            Uniform Material Transfer Agreement               4545 Roosevelt Way Ne, Ste 400 Seattle, WA 98105         $    10,000.00
Impel Pharmaceuticals, Inc.   Beanworks Solutions, Inc.                           Service Agreement                                 1159 Hamilton St Vancouver, BC V6B 5P6 Canada            $     8,050.00
Impel Pharmaceuticals, Inc.   Pacific Northwest Statistical Consulting, Inc.      Consulting Agreement                              18133 154th Ave NE Woodinville, WA 98072                 $     6,381.25
Impel Pharmaceuticals, Inc.   Close Consulting LLC                                Consulting Agreement                              9899 Zig Zag Rd Cincinnati, OH 45242                     $     6,120.00
Impel Pharmaceuticals, Inc.   Life Storage LP                                     Core Plus Master Rental Agreement                 6467 Main St Williamsville, NY 14221                     $     5,350.00
Impel Pharmaceuticals, Inc.   Veeva Systems Inc.                                  Veeva Master Subscription Agreement               4280 Hacienda Dr Pleasanton, CA 94588                    $     4,950.00
Impel Pharmaceuticals, Inc.   Deerfield Agency, LLC                               Statement of Work                                 555 E North Ln, Bldg D Ste 5020, W Lobby Conshohocken,   $     4,913.00
                                                                                                                                    PA 19428
Impel Pharmaceuticals, Inc.   Springer Nature Group                               Invoice                                           1 New York Plz, Ste 4600 New York, NY 10004              $     4,265.00
Impel Pharmaceuticals, Inc.   Frontiers Media SA                                  Invoice                                           Ave du Tribunal Fédéral 34 Lausanne, 1005, Switzerland   $     3,295.00

Impel Pharmaceuticals, Inc.   Digital Media (Intrado)                             Invoice                                           770 N Halsted St Ste 6S Chicago, IL, 60642               $     3,282.98
Impel Pharmaceuticals, Inc.   Emkay, Inc.                                         Vehicle Lease Agreement                           805 W. Thorndale Ave. Itasca, IL 60143-7400              $     3,106.01
Impel Pharmaceuticals, Inc.   Clean Earth Inc                                     Mutual Confidentiality Agreement                  933 1st Ave, Ste 200 King of Prussia, PA 19406           $     2,472.74
Impel Pharmaceuticals, Inc.   RSM US LLP                                          Master Services Agreement and Microsoft Product   1 S Wacker Dr, Ste 800 Chicago, IL 60606                 $     2,346.12
                                                                                  Rider
Impel Pharmaceuticals, Inc.   Fisher & Phillips LLP                               Invoice                                           1230 Peachtree St, Ste 3300 NE Atlanta, GA 30309         $     2,029.95
Impel Pharmaceuticals, Inc.   Almac Clinical Services Ltd                         Global Technical Agreement                        2661 Audubon Rd Audubon, PA 19403                        $     2,024.55
Impel Pharmaceuticals, Inc.   Nelson Labs Inc                                     Test Procedure Release Agreement                  6280 S Redwood Rd Salt Lake City, UT 84123               $     1,509.00
Impel Pharmaceuticals, Inc.   EPL Pathology Archives, LLC                         Master Services Agreement                         435 Tolbert Ln SE Leesburg, VA 20175                     $     1,250.00
Impel Pharmaceuticals, Inc.   EQUINITI TRUST COMPANY, LLC                         Invoice                                           6201 15th Ave. Brooklyn NY 11219                         $     1,024.50
Impel Pharmaceuticals, Inc.   Pacific Office Automation                           Master Agreement                                  14747 NW Greenbrier Pkwy Beaverton, OR 97006             $     1,002.10
Impel Pharmaceuticals, Inc.   Premier Research Consulting, LLC                    Master Service Agreement                          111 Founders Plz, 6th Fl E Hartford, CT 06108            $       850.00
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         Debtor               Vendor                                   Contract Title per Company                        Address                                                        Total
Impel Pharmaceuticals, Inc.   Jennason LLC                             Statement of Work                                 18450 Rutledge Rd Wayzata, MN 55391                        $       780.00
Impel Pharmaceuticals, Inc.   Greatland                                Yearly Subscription                               2480 Walker Ave NW Grand Rapids, MI 49544                  $       770.65
Impel Pharmaceuticals, Inc.   CDW Direct                               Invoice                                           200 N Milwaukee Ave Vernon Hills, IL 60061                 $       613.43
Impel Pharmaceuticals, Inc.   Life Science Legal LLC                   Terms of Engagement for Legal Services            750 17th St NW Washington, DC 20006                        $       398.95
Impel Pharmaceuticals, Inc.   Seneca Construction Management Corp      Invoice                                           12587 Rte 438 Irving, NY 14081                             $       300.00
Impel Pharmaceuticals, Inc.   Western Exterminator Company             Invoice                                           305 North Crescent Way, Anaheim, CA, 92801                 $         98.29
Impel Pharmaceuticals, Inc.   Amazon                                   Annual Subscription                               410 Terry Ave N Seattle, WA 98109                          $         21.17
Impel Pharmaceuticals, Inc.   ASPN Pharmacies, LLC                     Master Service Agreement                          200 Park Ave, Ste 300 Florham Park, NJ 07932               $           -
Impel Pharmaceuticals, Inc.   PPD Development, L.P.                    Master Consignment Agreement                      8551 Research Way, Ste 90 Middleton, WI 53562              $           -
Impel Pharmaceuticals, Inc.   American Express                         Corporate Services Commercial Account Agreement   200 Vesey Street New York, NY 10285                        $           -

Impel Pharmaceuticals, Inc.   Cardinal Health 105, Inc.                Exclusive Distribution Agreement                  7000 Cardinal Pl Dublin, OH 43017                          $          -
Impel Pharmaceuticals, Inc.   Phil, Inc                                Pharmacy Distribution Agreement                   2443 Fillmore St, Ste 380-1423 San Francisco, CA 94115     $          -

Impel Pharmaceuticals, Inc.   Integrichain, Inc.                       Master Services Agreement                         8 Penn Center 1628 JFK Blvd, Ste 300                       $          -
Impel Pharmaceuticals, Inc.   Carepoint Healthcare LLC                 Pharmacy Distribution Agreement                   9 Commerce Dr Schaumburg, IL 60173                         $          -
Impel Pharmaceuticals, Inc.   PSKW, LLC                                Master Services Agreement                         200 Jefferson Park, Whippany, NJ 07981                     $          -
Impel Pharmaceuticals, Inc.   Robert Half International Inc.           Letter of Assignment and General Conditions       2884 Sand Hill Rd, Ste 200 Menlo Park, CA 94025            $          -
                                                                       Agreement
Impel Pharmaceuticals, Inc.   Emerald Search Partners LLC              General Conditions of Assignment                  600 University St, Ste 1625 Seattle, WA 98101              $          -
Impel Pharmaceuticals, Inc.   Phil, Inc                                Returns Good Policy                               2443 Fillmore St, Ste 380-1423 San Francisco, CA 94115     $          -

Impel Pharmaceuticals, Inc.   Carepoint Healthcare LLC                 Returns Good Policy                               9 Commerce Dr Schaumburg, IL 60173                         $          -
Impel Pharmaceuticals, Inc.   Mainehealth                              Clinical Trial Agreement                          1 Dana Ct Westbrook, ME 04092                              $          -
Impel Pharmaceuticals, Inc.   Emkay, Inc.                              Fleet Services Agreement                          805 W. Thorndale Ave. Itasca, IL 60143-7400                $          -
Impel Pharmaceuticals, Inc.   Accumold                                 Quality Assurance Agreement                       18 Powells Valley Rd Halifax, PA 17032                     $          -
Impel Pharmaceuticals, Inc.   AndersonBrecond, Inc.                    Contract Services Quality Agreement               4545 Assembly Drive Rockford, IL 61109                     $          -
Impel Pharmaceuticals, Inc.   AndersonBrecond, Inc.                    Commercial Packaging Agreement                    4545 Assembly Drive Rockford, IL 61109                     $          -
Impel Pharmaceuticals, Inc.   Ascent Health Services LLC               Rebate Program Agreement                          1 Express Way St Louis, MO 63121                           $          -
Impel Pharmaceuticals, Inc.   Ascent Health Services LLC               Inflation Agreement                               1 Express Way St Louis, MO 63121                           $          -
Impel Pharmaceuticals, Inc.   ASP Cares Houston                        Product Purchase Agreement                        2429 Bissonnet St Ste 612, Houston, TX, 77005              $          -
Impel Pharmaceuticals, Inc.   Bioridge Pharma, LLC                     Pharmaceutical Distribution Services Agreement    325 Columbia Turnpike Suite #111, Florham Park, NJ 07932   $          -

Impel Pharmaceuticals, Inc.   BMR-201 Elliott Avenue LLC               Lease                                             201 Elliott Ave W Seattle, WA 98119                        $          -
Impel Pharmaceuticals, Inc.   C.H. Robinson Worldwide, Inc.            Customs Certifications, Indemnity Agreement and   14701 Charlson Rd. Eden Prairie, MN 55347                  $          -
                                                                       Collateral Policy
Impel Pharmaceuticals, Inc.   C.H. Robinson Worldwide, Inc.            Mutual Non-Disclosure Agreement                   14701 Charlson Rd. Eden Prairie, MN 55347                  $          -
Impel Pharmaceuticals, Inc.   Cardinal Health                          Quality Agreement                                 7000 Cardinal Pl Dublin, OH 43017                          $          -
Impel Pharmaceuticals, Inc.   CaremarksPCS Health, LLC                 Rebate Agreement                                  1 CVS Drive Legal Department Woonsocket, RI 02895          $          -
Impel Pharmaceuticals, Inc.   Carepoint Healthcare LLC                 Statement of Work #1                              9 Commerce Dr Schaumburg, IL 60173                         $          -
Impel Pharmaceuticals, Inc.   Carepoint Healthcare LLC                 Purchase Agreement                                9 Commerce Dr Schaumburg, IL 60173                         $          -
Impel Pharmaceuticals, Inc.   CCG Marketing Solutions                  Quality Agreement                                 14 Henderson Dr W Caldwell, NJ 07006                       $          -
Impel Pharmaceuticals, Inc.   CMTJ & Associates LLC                    Consulting Agreement                              117 Spur Lane West Chester PA 19382                        $          -
Impel Pharmaceuticals, Inc.   CMTJ & Associates LLC                    Mutual Non-Disclosure Agreement                   117 Spur Lane West Chester PA 19382                        $          -
Impel Pharmaceuticals, Inc.   Cook Spring Company                      Quality Agreement                                 233 Sarasota Center Blvd, Sarasota, FL 34240               $          -
Impel Pharmaceuticals, Inc.   Cubeworks                                Occupancy License Agreement                       900 Turnbull Canyon Rd. City of Industry CA 91745          $          -
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         Debtor               Vendor                                          Contract Title per Company                         Address                                                       Total
Impel Pharmaceuticals, Inc.   Curia Italy S.r.l.                              Commercial Agreement                               Via Volturno, 41/43, 20089, Rozzano, Italy                $           -
Impel Pharmaceuticals, Inc.   CVS Caremark Part D Services, LLC               Rebate Agreement                                   1 CVS Drive Legal Department Woonsocket, RI 02895         $           -
Impel Pharmaceuticals, Inc.   Dividend Group, LLC                             Rebate Agreement                                   330 N Brand Blvd, Suite 700, Glendale, CA 91203           $           -
Impel Pharmaceuticals, Inc.   Express Scripts Senior Care Holdings, Inc.      Medicare Part D Inflation Agreement                1 Express Way Saint Louis, MO 63121                       $           -
Impel Pharmaceuticals, Inc.   Express Scripts Senior Care Holdings, Inc.      Medicare Part D Rebate Program Agreement           1 Express Way Saint Louis, MO 63121                       $           -
Impel Pharmaceuticals, Inc.   Express Scripts, Inc                            Inflation Agreement                                1 Express Way Saint Louis, MO 63121                       $           -
Impel Pharmaceuticals, Inc.   Express Scripts, Inc                            Preferred Savings Grid Rebate Program Agreement    1 Express Way Saint Louis, MO 63121                       $           -

Impel Pharmaceuticals, Inc.   FarmaCiencia SA                                 Quality Agreement                                  40 Lake Dr, East Windsor, NJ 08520                        $           -
Impel Pharmaceuticals, Inc.   Freudenberg Medical LLC                         Manufacturing Services Agreement                   40 Sam Fonzo Dr, Beverly, MA 01915                        $           -
Impel Pharmaceuticals, Inc.   Freudenberg Medical LLC                         Contract Molding Agreement                         40 Sam Fonzo Dr, Beverly, MA 01915                        $           -
Impel Pharmaceuticals, Inc.   Freudenberg Medical LLC                         Supply Agreement                                   40 Sam Fonzo Dr, Beverly, MA 01915                        $           -
Impel Pharmaceuticals, Inc.   Freudenberg Medical LLC                         Quality Agreement                                  40 Sam Fonzo Dr, Beverly, MA 01915                        $           -
Impel Pharmaceuticals, Inc.   Freudenberg Medical LLC                         Tooling Agreement                                  40 Sam Fonzo Dr, Beverly, MA 01915                        $           -
Impel Pharmaceuticals, Inc.   Freudenberg Medical LLC                         Master Tooling Sales Agreement                     40 Sam Fonzo Dr, Beverly, MA 01915                        $           -
Impel Pharmaceuticals, Inc.   Integrichain, Inc.                              Mutual Non-Disclosure Agreement                    8 Penn Center 1628 JFK Blvd. Suite 300 Philadelphia, PA   $           -
                                                                                                                                 19103
Impel Pharmaceuticals, Inc.   Integrichain, Inc.                              Master Subscription Agreement                      8 Penn Center 1628 JFK Blvd. Suite 300 Philadelphia, PA   $           -
                                                                                                                                 19103
Impel Pharmaceuticals, Inc.   Medistry, LLC                                   Services Agreement                                 3029 Prospect Ave Cleveland, OH 44115                     $           -
Impel Pharmaceuticals, Inc.   Metropolitan Building Maintenance               Invoice                                            3829 Aurora Ave N Seattle, WA 98103-8702                  $           -
Impel Pharmaceuticals, Inc.   Minivalve Internation B.V.                      Quality Agreement                                  21 Lucbeckstraat, Oldenzaal, 7575EE, The Netherlands      $           -

Impel Pharmaceuticals, Inc.   Mipharm S.p.A.                                  Quality Agreement for Manufacturing and Control of Via B. Quaranta, 12 - 20141 Milano Italy                  $           -
                                                                              Medicinal Products
Impel Pharmaceuticals, Inc.   Mipharm S.p.A.                                  Commercial Agreement                               Via B. Quaranta, 12 - 20141 Milano Italy                  $           -
Impel Pharmaceuticals, Inc.   Mipharm S.p.A.                                  Development Services Agreement                     Via B. Quaranta, 12 - 20141 Milano Italy                  $           -
Impel Pharmaceuticals, Inc.   MTD Micro Molding                               Quality Agreement                                  15 Trolley Crossing Rd, Charlton, MA 01507                $           -
Impel Pharmaceuticals, Inc.   MTD Micro Molding                               Supply Agreement                                   15 Trolley Crossing Rd, Charlton, MA 01507                $           -
Impel Pharmaceuticals, Inc.   Nemera Corporation                              Quality Agreement                                  20 Av. de la Gare, 38290 La Verpillière, France           $           -
Impel Pharmaceuticals, Inc.   Nemera Corporation                              Manufacturing & Supply Agreement                   20 Av. de la Gare, 38290 La Verpillière, France           $           -
Impel Pharmaceuticals, Inc.   Nemera La Verpilliere SAS                       Services Agreement                                 20 Av. de la Gare, 38290 La Verpillière, France           $           -
Impel Pharmaceuticals, Inc.   Noveayr Respiratory                             Letter Agreement                                   9 Arkwright Rd, Runcorn WA7 1NU, United Kingdom           $           -
Impel Pharmaceuticals, Inc.   Optel Group USA, Inc.                           Master Software                                    55, Madison Avenue, Suite 400, Morristown, NJ 07960;      $           -

Impel Pharmaceuticals, Inc.   Pharmaserve North West, LTD                     Quality Agreement for Propellant Canister HFA 134a Ayrton House, Parliament Business Park, Commerce Way,     $           -
                                                                                                                                 Liverpool, LS 7BA
Impel Pharmaceuticals, Inc.   Pharmaserve North West, LTD                     Contract Manufacturing Agreement                   Ayrton House, Parliament Business Park, Commerce Way,     $           -
                                                                                                                                 Liverpool, LS 7BA
Impel Pharmaceuticals, Inc.   Phil, Inc                                       Pharmacy Services Agreement                        2443 Fillmore St, Ste 380-1423 San Francisco, CA 94115    $           -

Impel Pharmaceuticals, Inc.   Phil, Inc                                       Statement of Work                                  2443 Fillmore St, Ste 380-1423 San Francisco, CA 94115    $           -

Impel Pharmaceuticals, Inc.   Phil, Inc                                       First Amendment to Statement of Work               2443 Fillmore St, Ste 380-1423 San Francisco, CA 94115    $           -

Impel Pharmaceuticals, Inc.   Phil, Inc                                       First Amendment to Statement of Work No. 2         2443 Fillmore St, Ste 380-1423 San Francisco, CA 94115    $           -

Impel Pharmaceuticals, Inc.   Porex Corporation                               Porex Fairburn Standard Quality Agreement          500 Bohannon Rd, Fairburn, GA 30213                       $           -
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         Debtor               Vendor                                             Contract Title per Company                       Address                                                       Total
Impel Pharmaceuticals, Inc.   PPD Development, L.P.                              Quality Agreement                                8551 Research Way, Suite 90, Middleton, WI 53562          $           -
Impel Pharmaceuticals, Inc.   PPD Development, L.P.                              Master Services Agreement                        8551 Research Way, Suite 90, Middleton, WI 53562          $           -
Impel Pharmaceuticals, Inc.   PSKW, LLC                                          Statement of Work                                200 Jefferson Park, Whippany, NJ 07981                    $           -
Impel Pharmaceuticals, Inc.   Thies Lombard Pharmacy, Inc.                       Product Purchase Agreement                       805 S Main St Ste C Lombard, IL, 60148-3300               $           -
Impel Pharmaceuticals, Inc.   University of Washington                           Exclusive Patent License Agreement and Amendment 1410 NE Campus Pkwy Seattle, WA 98195                     $           -

Impel Pharmaceuticals, Inc.   University of Washington                           Memorandum of Understanding                       1410 NE Campus Pkwy Seattle, WA 98195                    $           -
Impel Pharmaceuticals, Inc.   Western Wellness Solutions, LLC                    Distribution Agreement                            1555 Doolittle Dr Ste 170 San Leandro, CA, 94577-2239    $           -

Impel Pharmaceuticals, Inc.   Zinc Health Services, LLC                          Commercial Rebate Agreement                      1 Cvs Drive, Mc 1160 Woonsocket, RI 02895                 $           -
Impel Pharmaceuticals, Inc.   TrnDigital, LLC                                    IT Support & Advisory Managed Services Agreement 200 Portland St, 5th Fl Boston, MA 02114                  $           -

Impel Pharmaceuticals, Inc.   University of Washington                             Clinical Material Use Agreement                 1410 NE Campus Pkwy Seattle, WA 98195                    $           -
Impel Pharmaceuticals, Inc.   Adkins Black LLP                                     Engagement Letter                               1100 Bellevue Way NE, # 8A-914. Bellevue, WA 98004       $           -
Impel Pharmaceuticals, Inc.   Affirma Consulting, LLC                              Master Services Agreement                       3380 146th Pl SE #100, Bellevue, WA 98007                $           -
Impel Pharmaceuticals, Inc.   Affirma Consulting, LLC                              Time & Materials Statement of Work Sharepoint   3380 146th Pl SE #100, Bellevue, WA 98007                $           -
                                                                                   Consulting
Impel Pharmaceuticals, Inc.   Affirma Consulting, LLC                              Time & Materials Statement of Work Clinical     3380 146th Pl SE #100, Bellevue, WA 98007                $           -
                                                                                   SharePoint Site Architecture and Migration
Impel Pharmaceuticals, Inc.   Alturas Analytics, Inc.                              Master Research Services Agreement              1324 Alturas Dr, Moscow, ID 83843                        $           -
Impel Pharmaceuticals, Inc.   Alturas Analytics, Inc.                              SOW #1                                          1324 Alturas Dr, Moscow, ID 83843                        $           -
Impel Pharmaceuticals, Inc.   Alturas Analytics, Inc.                              SOW #2                                          1324 Alturas Dr, Moscow, ID 83843                        $           -
Impel Pharmaceuticals, Inc.   Alturas Analytics, Inc.                              CHANGE ORDER #1 TO SOW #1                       1324 Alturas Dr, Moscow, ID 83843                        $           -
Impel Pharmaceuticals, Inc.   AndersonBrecon Inc. (PCI Pharma's Rockford, IL site) Statement of Work #2                            4545 Assembly Drive, Rockford, Illinois 61109            $           -

Impel Pharmaceuticals, Inc.   Angie Ohnmeis, LLC                                 Consulting Agreement & SOW #1                     5034 Goal Post Lane · Cincinnati, OH 45244               $           -
Impel Pharmaceuticals, Inc.   Ansari, Hossein                                    Consulting Agreement & SOW #1                     4910 Directors Place San Diego, CA 92121                 $           -
Impel Pharmaceuticals, Inc.   Aon PLC                                            Service Agreement                                 25 W. 45th St. 15th floor. New York, New York 10036.     $           -
Impel Pharmaceuticals, Inc.   Aquinas Leadership Group                           Master Services Agreement                         120 Iowa Ln # 204, Cary, NC 27511                        $           -
Impel Pharmaceuticals, Inc.   Avantor Funding, Inc.                              Master Services Agreement                         3477 CORPORATE PKWY SUITE 200 CENTER VALLEY, PA          $           -
                                                                                                                                   18034
Impel Pharmaceuticals, Inc.   Avantor Funding, Inc.                              Avantor Funding, Inc.                             3477 CORPORATE PKWY SUITE 200 CENTER VALLEY, PA          $           -
                                                                                                                                   18034
Impel Pharmaceuticals, Inc.   Axtria, Inc.                                       Master Services Agreement                         300 Connell Dr 5th floor, Berkeley Heights, NJ 07922     $           -
Impel Pharmaceuticals, Inc.   Baker Tilly US, LLP                                Statement of Work #6                              8626 N Himes Ave Tampa, FL 33614                         $           -
Impel Pharmaceuticals, Inc.   Baker Tilly US, LLP                                Statement of Work #1                              8626 N Himes Ave Tampa, FL 33614                         $           -
Impel Pharmaceuticals, Inc.   Baker Tilly US, LLP                                Change Order #1                                   8626 N Himes Ave Tampa, FL 33614                         $           -
Impel Pharmaceuticals, Inc.   Baker Tilly US, LLP                                Statement of Work #3                              8626 N Himes Ave Tampa, FL 33614                         $           -
Impel Pharmaceuticals, Inc.   Baker Tilly US, LLP                                Master Service Agreement                          8626 N Himes Ave Tampa, FL 33614                         $           -
Impel Pharmaceuticals, Inc.   Biobridges LLC                                     Service Order                                     2701 Aerial Center Parkway Suite 120. Morrisville, NC    $           -
                                                                                                                                   27709
Impel Pharmaceuticals, Inc.   Biobridges LLC                                     Master Services Agreement                         230 3rd Ave, Waltham, MA 02451                           $           -
Impel Pharmaceuticals, Inc.   BOF II PA Lindenwood LLC                           Office Lease                                      101 Lindenwood Drive, Malvern, PA 19355                  $           -
Impel Pharmaceuticals, Inc.   BOF II PA Lindenwood LLC                           Consent Agreement                                 101 Lindenwood Drive, Malvern, PA 19355                  $           -
Impel Pharmaceuticals, Inc.   Capsugel US, LLC                                   Capsule Continuing Guarantee                      412 Mt Kemble AveMorristown, NJ 07960                    $           -
Impel Pharmaceuticals, Inc.   Cardinal Health 105, Inc.                          Exhibit A Traditional 3PL Operating Guidelines    501 Mason Road, Suite 200, La Vergne, Tennessee, 37086   $           -

Impel Pharmaceuticals, Inc.   CaremarkPCS Health, L.L.C.                         Medicare Part D Program Rebate Agreement          1 CVS Drive Legal Department Woonsocket, RI 02895        $           -
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Impel Pharmaceuticals, Inc.   CCG Corporate Mailings, Inc.                   Statement of Work #9                           14 Henderson Dr, West Caldwell, NJ 07006                   $           -
Impel Pharmaceuticals, Inc.   CCG Corporate Mailings, Inc.                   Statement of Work #10 Trade show support and   14 Henderson Dr, West Caldwell, NJ 07006                   $           -
                                                                             fulfillment
Impel Pharmaceuticals, Inc.   CCG Corporate Mailings, Inc.                   Master Services Agreement                      14 Henderson Dr, West Caldwell, NJ 07006                   $           -
Impel Pharmaceuticals, Inc.   CCG Corporate Mailings, Inc.                   Statement of Work #7                           14 Henderson Dr, West Caldwell, NJ 07006                   $           -
Impel Pharmaceuticals, Inc.   CCG Corporate Mailings, Inc.                   Statement of Work #11- CCG Demo Repack         14 Henderson Dr, West Caldwell, NJ 07006                   $           -
Impel Pharmaceuticals, Inc.   CDM Consulting LLC                             Consulting Agreement & SOW #1                  25 Via Marconi, Sorbolo, Emilia-Romagna, 43058, Italy      $           -

Impel Pharmaceuticals, Inc.   Certara USA, Inc.                              Certara USA, Inc. Master Services Agreement    100 Overlook Center STE 101, Princeton, NJ 08540           $           -
Impel Pharmaceuticals, Inc.   Certara USA, Inc.                              Services Agreement                             100 Overlook Center STE 101, Princeton, NJ 08540           $           -
Impel Pharmaceuticals, Inc.   Certara USA, Inc.                              Work Order No. 1                               100 Overlook Center STE 101, Princeton, NJ 08540           $           -
Impel Pharmaceuticals, Inc.   Certara USA, Inc.                              Work Order No. 2                               100 Overlook Center STE 101, Princeton, NJ 08540           $           -
Impel Pharmaceuticals, Inc.   Charles River Laboratories, Inc.               Master Services Agreement                      251 Ballardvale Street Wilmington, MA 01887                $           -
Impel Pharmaceuticals, Inc.   Charles River Laboratories, Inc.               Statement of Work #1                           251 Ballardvale Street Wilmington, MA 01887                $           -
Impel Pharmaceuticals, Inc.   Chiddix, Olen                                  Statement of Work #2                           14338 Fremont Ave N Seattle, WA 98133                      $           -
Impel Pharmaceuticals, Inc.   Children's Hospital of Philadelphia (CHOP)     Consulting Agreement & SOW #1                  3401 Civic Center Blvd. Philadelphia, PA 19104             $           -
Impel Pharmaceuticals, Inc.   Clark Nuber PS                                 Master Service Agreement & SOW #1              10900 NE 4th Street. Suite 1400. Bellevue, WA 98004        $           -
Impel Pharmaceuticals, Inc.   CobbleStone Systems Corp.                      Work Order                                     428 S White Horse Pike, Lindenwold, NJ 08021               $           -
Impel Pharmaceuticals, Inc.   Comcast Cable Communications Management, LLC   Comcast Business Service Order                 1701 JFK Boulevard Philadelphia, PA 19103                  $           -

Impel Pharmaceuticals, Inc.   Connor Group Global Services, LLC              Connor Group Global Services, LLC              60 E 42nd St #920, New York, NY 10165                      $           -
Impel Pharmaceuticals, Inc.   Copyright Clearance Center, Inc.               Annual Copyright License Agreement             222 Rosewood Drive Danvers, MA 01923                       $           -
Impel Pharmaceuticals, Inc.   Crisp Thinking (UK) LImited                    Master Services Agreement                      Suite 1 Central Square 29 Wellington Street, Leeds, West   $           -
                                                                                                                            Yorkshire, LS1 4DL, United Kingdom
Impel Pharmaceuticals, Inc.   Crisp Thinking (UK) LImited                    Change Order Request Form                      Suite 1 Central Square 29 Wellington Street, Leeds, West   $           -
                                                                                                                            Yorkshire, LS1 4DL, United Kingdom
Impel Pharmaceuticals, Inc.   CT Corporation System                          CT Assurance Agreement                         28 Liberty St New York, NY, 10005                          $           -
Impel Pharmaceuticals, Inc.   Cult Health LLC                                Master Services Agreement                      261 5th Ave Ste 1002. New York, NY 10016                   $           -
Impel Pharmaceuticals, Inc.   D2 Groups, LLC                                 Interior Design Services Proposal for Impel    2540 Renaissance Blvd King OF Prussia, PA, 19406           $           -
                                                                             NeuroPharma
Impel Pharmaceuticals, Inc.   D2 Groups, LLC                                 Interior Design Services Proposal for Impel    2540 Renaissance Blvd King OF Prussia, PA, 19406           $           -
                                                                             NeuroPharma
Impel Pharmaceuticals, Inc.   Davis, Greg Eldon                              Consulting Agreement & SOW #1                  104 27th Ave SE Puyallup, WA 98374                         $           -
Impel Pharmaceuticals, Inc.   de Notaristefani                               Consulting Agreement & SOW #1                  33 Devonshire Lane, Mendham, NJ 07945                      $           -
Impel Pharmaceuticals, Inc.   Deerfield Agency, LLC                          Change Order to SOW #19 (PO 31088)             Building D, West Lobby, 555 E North Lane, Suite 5020       $           -
                                                                                                                            Conshohocken, PA 19428
Impel Pharmaceuticals, Inc.   Deerfield Agency, LLC                          Statement of Work #2                           Building D, West Lobby, 555 E North Lane, Suite 5020       $           -
                                                                                                                            Conshohocken, PA 19428
Impel Pharmaceuticals, Inc.   Deerfield Agency, LLC                          Statement of Work #3                           Building D, West Lobby, 555 E North Lane, Suite 5020       $           -
                                                                                                                            Conshohocken, PA 19428
Impel Pharmaceuticals, Inc.   Deerfield Agency, LLC                          Statement of Work #4                           Building D, West Lobby, 555 E North Lane, Suite 5020       $           -
                                                                                                                            Conshohocken, PA 19428
Impel Pharmaceuticals, Inc.   Deerfield Agency, LLC                          Statement of Work #5                           Building D, West Lobby, 555 E North Lane, Suite 5020       $           -
                                                                                                                            Conshohocken, PA 19428
Impel Pharmaceuticals, Inc.   Deerfield Agency, LLC                          Statement of Work #6                           Building D, West Lobby, 555 E North Lane, Suite 5020       $           -
                                                                                                                            Conshohocken, PA 19428
Impel Pharmaceuticals, Inc.   Deerfield Agency, LLC                          Statement of Work #7                           Building D, West Lobby, 555 E North Lane, Suite 5020       $           -
                                                                                                                            Conshohocken, PA 19428
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  Impel Pharmaceuticals, Inc.     Deerfield Agency, LLC                         Statement of Work #8                                   Building D, West Lobby, 555 E North Lane, Suite 5020   $           -
                                                                                                                                       Conshohocken, PA 19428
  Impel Pharmaceuticals, Inc.     Dragonfly Agency Corporation                  Master Services Agreement                              623 River Rd, Fair Haven, NJ 07704                     $           -
Impel NeuroPharma Australia PTY   Drew, Angela                                  Consulting Agreement & SOW #1                          5 Lisa Court Mordialloc 3195 Australia                 $           -
             LTD
  Impel Pharmaceuticals, Inc.     Drury Design Dynamics, Inc.                   Master Service Agreement & SOW #1                      275 7th Ave, New York, NY 10011                        $           -
  Impel Pharmaceuticals, Inc.     Elixir Health Public Relations Inc.           2023 Public Relations Scope of Work & Estimated        379 W Broadway, New York, NY 10012                     $           -
                                                                                Budget
  Impel Pharmaceuticals, Inc.     Elixir Health Public Relations Inc.           Master Services Agreement                              379 W Broadway, New York, NY 10012                     $           -
  Impel Pharmaceuticals, Inc.     Elliott Seattle Real Estate Holding Inc.      Landlord Consent to Sublease                           200 W Mercer St Ste 106, Seattle, WA 98119             $           -
  Impel Pharmaceuticals, Inc.     Erickson, Craig A.                            Consulting/Scientific Advisory Board Agreement         115 Linden Drive, Cincinnati, OH 45215                 $           -

  Impel Pharmaceuticals, Inc.     Eurofins Panlabs, Inc.                        Master Services Agreement                              6 Research Park Dr, St Charles, MO 63304               $           -
  Impel Pharmaceuticals, Inc.     Experic, LLC                                  Master Services Agreement                              2 Clarke Drive, Cranbury, NJ 08512                     $           -
  Impel Pharmaceuticals, Inc.     Experic, LLC                                  Statement of Work #1                                   2 Clarke Drive, Cranbury, NJ 08512                     $           -
  Impel Pharmaceuticals, Inc.     Filips, Megan                                 Debarment Letter                                       5318 80th Pl SW, Mukilteo, WA 98275                    $           -
  Impel Pharmaceuticals, Inc.     Friedman, Deborah                             Master Consulting Agreement                            5303 Harry Hines Blvd., Dallas, TX 75390               $           -
  Impel Pharmaceuticals, Inc.     Gonzalez, Diane D. ARNP                       Gonzalez, Diane D. ARNP                                10600 Mastin St, Overland Park, KS                     $           -
  Impel Pharmaceuticals, Inc.     GS1 US                                        License Agreement                                      300 Charles Ewing Blvd, Ewing Township, NJ 08628       $           -
  Impel Pharmaceuticals, Inc.     HealthCare Alliance Group, LLC                Statement of Work #13                                  101 Laurel Road, Suite 100 Voorhees, NJ 08043          $           -
  Impel Pharmaceuticals, Inc.     HealthCare Alliance Group, LLC                Statement of Work #15                                  101 Laurel Road, Suite 100 Voorhees, NJ 08043          $           -
  Impel Pharmaceuticals, Inc.     HealthCare Alliance Group, LLC                Statement of Work #16                                  101 Laurel Road, Suite 100 Voorhees, NJ 08043          $           -
  Impel Pharmaceuticals, Inc.     HealthCare Alliance Group, LLC                Statement of Work #18                                  101 Laurel Road, Suite 100 Voorhees, NJ 08043          $           -
  Impel Pharmaceuticals, Inc.     HealthCare Alliance Group, LLC                Statement of Work #3                                   101 Laurel Road, Suite 100 Voorhees, NJ 08043          $           -
  Impel Pharmaceuticals, Inc.     HealthCare Alliance Group, LLC                Statement of Work #4                                   101 Laurel Road, Suite 100 Voorhees, NJ 08043          $           -
  Impel Pharmaceuticals, Inc.     HealthCare Alliance Group, LLC                Statement of Work #5                                   101 Laurel Road, Suite 100 Voorhees, NJ 08043          $           -
  Impel Pharmaceuticals, Inc.     HealthCare Alliance Group, LLC                Statement of Work #7                                   101 Laurel Road, Suite 100 Voorhees, NJ 08043          $           -
  Impel Pharmaceuticals, Inc.     HealthCare Alliance Group, LLC                Statement of Work #8                                   101 Laurel Road, Suite 100 Voorhees, NJ 08043          $           -
  Impel Pharmaceuticals, Inc.     HealthCare Alliance Group, LLC                Statement of Work #9                                   101 Laurel Road, Suite 100 Voorhees, NJ 08043          $           -
  Impel Pharmaceuticals, Inc.     HealthCare Alliance Group, LLC                Statement of Work #10 - imn-TR-22-1079-SP80            101 Laurel Road, Suite 100 Voorhees, NJ 08043          $           -
  Impel Pharmaceuticals, Inc.     HealthCare Alliance Group, LLC                Statement of Work #11                                  101 Laurel Road, Suite 100 Voorhees, NJ 08043          $           -
  Impel Pharmaceuticals, Inc.     HealthCare Alliance Group, LLC                Statement of Work #17                                  101 Laurel Road, Suite 100 Voorhees, NJ 08043          $           -
  Impel Pharmaceuticals, Inc.     Hovione Limited                               Work Order #13                                         40 Lake Dr, East Windsor, NJ 08520                     $           -
  Impel Pharmaceuticals, Inc.     Hovione Limited                               Work Order #14 Impel INP105/PO12 GMP                   40 Lake Dr, East Windsor, NJ 08520                     $           -
                                                                                Manufacture of SDD Filled Vials for Clinical Studies

  Impel Pharmaceuticals, Inc.     Hovione Limited                               Work Order #17                                     40 Lake Dr, East Windsor, NJ 08520                         $           -
  Impel Pharmaceuticals, Inc.     Hovione Limited                               Master Services Agreement                          40 Lake Dr, East Windsor, NJ 08520                         $           -
  Impel Pharmaceuticals, Inc.     Interactive Forums, Inc.                      Master Services Agreement                          375 E Elm St # 200, Conshohocken, PA 19428                 $           -
  Impel Pharmaceuticals, Inc.     Interface Analysis Associates                 Project Proposal INP105 DPI Drug Delivery Device   1821 Saratoga Ave Suite #200, Saratoga, CA 95070           $           -
                                                                                Olanzapine - POD for Acute Agitation Human Factors
                                                                                Program
  Impel Pharmaceuticals, Inc.     Interface Analysis Associates                 Statment of Work INP105 DPI Drug Delivery Device 1821 Saratoga Ave Suite #200, Saratoga, CA 95070             $           -

  Impel Pharmaceuticals, Inc.     IPG Health Medical Communications Inc.        Consulting Agreement & SOW #1                          100 W 33rd St, New York, NY 10001                      $           -
  Impel Pharmaceuticals, Inc.     IQVIA, Inc.                                   User-Customer Agreement for AMA Physician              2400 Ellis Rd Durham, NC 27703                         $           -
                                                                                Professional Data
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Impel Pharmaceuticals, Inc.   IQVIA, Inc.                                        Statement of Work # 2612182                             2400 Ellis Rd Durham, NC 27703                          $           -
Impel Pharmaceuticals, Inc.   IQVIA, Inc.                                        Statement of Work 2569379                               2400 Ellis Rd Durham, NC 27703                          $           -
Impel Pharmaceuticals, Inc.   Joshi, Shivang                                     Consulting Agreement & SOW #1                           3111 Flint Pond Circle, Shrewsbury, MA 01545            $           -
Impel Pharmaceuticals, Inc.   Juice Pharma Worldwide, LLC                        Juice SOW #1 amendment Sep 2023                         132 West 31st St. New York, NY 10001                    $           -
Impel Pharmaceuticals, Inc.   Kaiser Permanente                                  Service Agreement                                       1 Kaiser Plaza Oakland, CA 94612                        $           -
Impel Pharmaceuticals, Inc.   Lachman Institute for Pharmaceutical Analysis at   Analytical Research Agreement                           1 University Plz, Brooklyn, NY 11201                    $           -
                              Long Island University
Impel Pharmaceuticals, Inc.   Life Storage LP                                    Statement of Work                                       6467 Main Street Williamsville, NY 14221                $           -
Impel Pharmaceuticals, Inc.   Lippe Taylor, LLC                                  Statement of Work #1                                    140 Broadway 28TH FL, New York, NY 10005                $           -
Impel Pharmaceuticals, Inc.   LMK Clinical Research Consulting, LLC              Statement of Work #1 CO #2                              1743 Connecticut Ave NW suite 200, Washington, DC       $           -
                                                                                                                                         20009
Impel Pharmaceuticals, Inc.   Managed Markets Insight & Technology, LLC          Master Agreement                                        290 W Mt Pleasant Ave #2210, Livingston, NJ 07039       $           -
Impel Pharmaceuticals, Inc.   Managed Markets Insight & Technology, LLC          Statement of Work #2                                    290 W Mt Pleasant Ave #2210, Livingston, NJ 07039       $           -
Impel Pharmaceuticals, Inc.   Managed Markets Insight & Technology, LLC          Statement of Work #1                                    290 W Mt Pleasant Ave #2210, Livingston, NJ 07039       $           -
Impel Pharmaceuticals, Inc.   Marketing Automation Canada                        Master Services Agreement & SOW #1                      2333 Dundas St W #403, Toronto, ON M6R 3A6, Canada      $           -

Impel Pharmaceuticals, Inc.   McCann Systems                                     Statement of Work #2                                    68 South Turnpike Road. Wallingford, CT 06492           $           -
Impel Pharmaceuticals, Inc.   Medical Marketing Economics, LLC                   Master Services Agreement                               1200 Jeffersion Avenue Suite 200 Oxford, MS 38655       $           -
Impel Pharmaceuticals, Inc.   Medical Marketing Economics, LLC                   Statement of Work #1                                    1200 Jeffersion Avenue Suite 200 Oxford, MS 38655       $           -
Impel Pharmaceuticals, Inc.   Mipharm S.p.A.                                     #5 days support to trial activities + #3 tech batches   Via Bernardo Quaranta, 12, 20139 Milano MI, Italy       $           -
                                                                                 Dec 20199 Offer n. 1830 Rev. 1
Impel Pharmaceuticals, Inc.   Mipharm S.p.A.                                     Equipment Loan Agreement                          Via Bernardo Quaranta, 12, 20139 Milano MI, Italy             $           -
Impel Pharmaceuticals, Inc.   Montrium Hosted Solutions, Inc.                    Service Agreement SA-IPL-2017-01                  507 Pl D'armes Ste 1500, Montreal, Quebec, H2Y 2W8,           $           -
                                                                                                                                   Canada
Impel Pharmaceuticals, Inc.   Natbony, Lauren                                    Consulting Agreement for Speaker Program Services 6 Saddle Ridge Road, Old Westbury, NY 11568                   $           -

Impel Pharmaceuticals, Inc.   NAVEX Global, Inc.                                 Global Master Services Agreement & Order Form           5500 Meadows Road, Suite 500. Lake Oswego, OR, 97035    $           -

Impel Pharmaceuticals, Inc.   NuWest Group Holdings LLC                          Client Agreement                                        325 118th Ave SE #300, Bellevue, WA 98005               $           -
Impel Pharmaceuticals, Inc.   Paige Daufenbach                                   Consulting Agreement & SOW #1                           5021 Camburn Road, Plymouth Meeting, PA 19462           $           -
Impel Pharmaceuticals, Inc.   Pharma Manufacturing & Supply Chain Consulting,    Consulting Agreement & SOW #1                           4585 Caminito San Sebastian, Del Apr, CA 92014          $           -
                              LLC
Impel Pharmaceuticals, Inc.   Pharma Manufacturing & Supply Chain Consulting,    Consulting Agreement & SOW #1                           4585 Caminito San Sebastian, Del Apr, CA 92014          $           -
                              LLC
Impel Pharmaceuticals, Inc.   Pharmaserve North West Ltd                         Contract Manufacturing Agreement - Marketing            Ayrton House, Parliament Business Park, Commerce Way,   $           -
                                                                                 Authorisation Held By Customer                          Liverpool, LS 7BA
Impel Pharmaceuticals, Inc.   PharmGirl Help LLC                                 Consulting Agreement & SOW #1                           1749 Ottawa Beach Road, Unit 6 Holland MI 49424         $           -
Impel Pharmaceuticals, Inc.   PPD Development, L.P.                              Retain Storage of Commercial INP104 Devices             8551 Research Way, Suite 90, Middleton, WI 53562        $           -
Impel Pharmaceuticals, Inc.   PPD Development, L.P.                              Statement of Work #121399                               8551 Research Way, Suite 90, Middleton, WI 53562        $           -
Impel Pharmaceuticals, Inc.   PPD Development, L.P.                              Statistical Analysis Applications Limited Software      8551 Research Way, Suite 90, Middleton, WI 53562        $           -
                                                                                 Code License Agreement
Impel Pharmaceuticals, Inc.   PPD Development, L.P.                              Change Notification Form #81 for BC# 78990-01           8551 Research Way, Suite 90, Middleton, WI 53562        $           -

Impel Pharmaceuticals, Inc.   PPD Development, L.P.                              Change Notification Form #48 for BC #78990-01           8551 Research Way, Suite 90, Middleton, WI 53562        $           -

Impel Pharmaceuticals, Inc.   PPD Development, L.P.                              Change Notification Form # 16 for BC# 78990-01          8551 Research Way, Suite 90, Middleton, WI 53562        $           -

Impel Pharmaceuticals, Inc.   PPD Development, L.P.                              Change Notification Form # 14 for BC# 78990-01          8551 Research Way, Suite 90, Middleton, WI 53562        $           -
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Impel Pharmaceuticals, Inc.   PPD Development, L.P.        Change Notification Form # 12 For BC# 78990-01       8551 Research Way, Suite 90, Middleton, WI 53562     $           -

Impel Pharmaceuticals, Inc.   PPD Development, L.P.        Change Notification Form # 11 For BC# 78990-01       8551 Research Way, Suite 90, Middleton, WI 53562     $           -

Impel Pharmaceuticals, Inc.   PPD Development, L.P.        Change Notification Form # 13 for BC# 78990-01       8551 Research Way, Suite 90, Middleton, WI 53562     $           -

Impel Pharmaceuticals, Inc.   PPD Development, L.P.        Change Notification Form # 10 for BC# 78990-01       8551 Research Way, Suite 90, Middleton, WI 53562     $           -

Impel Pharmaceuticals, Inc.   PPD Development, L.P.        Change Notification Form # 9 For BC# 78990-01        8551 Research Way, Suite 90, Middleton, WI 53562     $           -
Impel Pharmaceuticals, Inc.   PPD Development, L.P.        Change Notification Form # 8 For BC# 78990-01        8551 Research Way, Suite 90, Middleton, WI 53562     $           -
Impel Pharmaceuticals, Inc.   PPD Development, L.P.        Change Notification Form # 7 for BC# 78990-01        8551 Research Way, Suite 90, Middleton, WI 53562     $           -
Impel Pharmaceuticals, Inc.   PPD Development, L.P.        Change Notification Form # 6 For BC# 78990-01        8551 Research Way, Suite 90, Middleton, WI 53562     $           -
Impel Pharmaceuticals, Inc.   PPD Development, L.P.        Change Notification Form # 5 for BC# 78990-01        8551 Research Way, Suite 90, Middleton, WI 53562     $           -
Impel Pharmaceuticals, Inc.   PPD Development, L.P.        Change Notification Form # 3 For BC# 78990-01        8551 Research Way, Suite 90, Middleton, WI 53562     $           -
Impel Pharmaceuticals, Inc.   PPD Development, L.P.        Change Notification Form #2 for BC# 78990-01         8551 Research Way, Suite 90, Middleton, WI 53562     $           -
Impel Pharmaceuticals, Inc.   PPD Development, L.P.        Change Notification Form #1 for BC# 78990-01         8551 Research Way, Suite 90, Middleton, WI 53562     $           -
Impel Pharmaceuticals, Inc.   PPD Development, L.P.        Letter of Agreement - PPD                            8551 Research Way, Suite 90, Middleton, WI 53562     $           -
Impel Pharmaceuticals, Inc.   PPD Development, L.P.        Proposal - Comparator Product Assay and Impurities   8551 Research Way, Suite 90, Middleton, WI 53562     $           -
                                                           Analysis Study
Impel Pharmaceuticals, Inc.   PPD Development, L.P.        Leachable Testing with Aged Devices                  8551 Research Way, Suite 90, Middleton, WI 53562     $           -
Impel Pharmaceuticals, Inc.   PPD Development, L.P.        Amendment to Stability Storage and Analysis of       8551 Research Way, Suite 90, Middleton, WI 53562     $           -
                                                           Three Validation Lots of INP104 Combination Drug
                                                           Product
Impel Pharmaceuticals, Inc.   PPD Development, L.P.        Osmolality Analysis of One Lot of DHE Drug Product   8551 Research Way, Suite 90, Middleton, WI 53562     $           -
                                                           for the INP-104 Nasal Spray Agreement
Impel Pharmaceuticals, Inc.   PPD Development, L.P.        Stability Storage and Analysis of Three Validation   8551 Research Way, Suite 90, Middleton, WI 53562     $           -
                                                           Lots of INP104 Combination Drug Product

Impel Pharmaceuticals, Inc.   PPD Development, L.P.        Stability Storage and Analysis of One Lot of INP-104 8551 Research Way, Suite 90, Middleton, WI 53562     $           -
                                                           Nasal Spray Combination Drug Product
Impel Pharmaceuticals, Inc.   PPD Development, L.P.        Release Testing and Stability Storage and Analysis for 8551 Research Way, Suite 90, Middleton, WI 53562   $           -
                                                           Clinical Study INP105-201, a Proof-of-Concept Study
                                                           in Adolescent Patients with Autism

Impel Pharmaceuticals, Inc.   PPD Development, L.P.        Storage of Lot 011705 for up to 3 months with         8551 Research Way, Suite 90, Middleton, WI 53562    $           -
                                                           optional assay & related substances analysis
Impel Pharmaceuticals, Inc.   PPD Development, L.P.        Intermediate Stability Analysis in Support of INP105- 8551 Research Way, Suite 90, Middleton, WI 53562    $           -
                                                           201 Clinical Study
Impel Pharmaceuticals, Inc.   PPD Development, L.P.        I123 POD Device Extended Shelf Life Testing           8551 Research Way, Suite 90, Middleton, WI 53562    $           -
Impel Pharmaceuticals, Inc.   PPD Development, L.P.        Supplemental Validation of INP-104 Nasal Spray        8551 Research Way, Suite 90, Middleton, WI 53562    $           -
                                                           Methods to Support a New Fixture
Impel Pharmaceuticals, Inc.   PPD Development, L.P.        Open Agreement for 2022 Release Testing of            8551 Research Way, Suite 90, Middleton, WI 53562    $           -
                                                           Trudhesa
Impel Pharmaceuticals, Inc.   PPD Development, L.P.        Aerodynamic Particle Size Distribution of INP105-201 8551 Research Way, Suite 90, Middleton, WI 53562     $           -
                                                           (Olanzapine) R&D Formulations
Impel Pharmaceuticals, Inc.   PPD Development, L.P.        Release Testing and Stability Storage and Analysis of 8551 Research Way, Suite 90, Middleton, WI 53562    $           -
                                                           One Lot of INP105-201 Clinical Drug Product

Impel Pharmaceuticals, Inc.   PPD Development, L.P.        Statement of Work #1-117017 for Stability Storage    8551 Research Way, Suite 90, Middleton, WI 53562     $           -
                                                           and Analysis of One Lot of INP104 Combpination
                                                           Drug Product
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Impel Pharmaceuticals, Inc.   PPD Development, L.P.                 SOW-119462r1                                          8551 Research Way, Suite 90, Middleton, WI 53562          $           -
Impel Pharmaceuticals, Inc.   PPD Development, L.P.                 SOW-119750_PE                                         8551 Research Way, Suite 90, Middleton, WI 53562          $           -
Impel Pharmaceuticals, Inc.   PPD Development, L.P.                 PPD-Impel_Statement of Work 120878 -                  8551 Research Way, Suite 90, Middleton, WI 53562          $           -
Impel Pharmaceuticals, Inc.   PPD Development, L.P.                 Statement of Work #116079r1                           8551 Research Way, Suite 90, Middleton, WI 53562          $           -
Impel Pharmaceuticals, Inc.   PPD Development, L.P.                 Statement of Work #11843                              8551 Research Way, Suite 90, Middleton, WI 53562          $           -
Impel Pharmaceuticals, Inc.   PPD Development, L.P.                 Statement of Work #118842                             8551 Research Way, Suite 90, Middleton, WI 53562          $           -
Impel Pharmaceuticals, Inc.   PPD Development, L.P.                 Service Agreement #120877r1                           8551 Research Way, Suite 90, Middleton, WI 53562          $           -
Impel Pharmaceuticals, Inc.   PPD Development, L.P.                 Statement of Work 127064                              8551 Research Way, Suite 90, Middleton, WI 53562          $           -
Impel Pharmaceuticals, Inc.   PPD Investigator Services, LLC        Letter of Authorization                               929 North Front Street 6th Floor Wilmington, NC 28401     $           -

Impel Pharmaceuticals, Inc.   PRECISIONheor, LLC                    Master Services Agreement                             11100 Santa Monica Blvd Suite 500 Los Angeles, CA 90025   $           -

Impel Pharmaceuticals, Inc.   Premier Research Consulting, LLC      Work Order #234104                                    111 Founders Plaza floor 6, East Hartford, CT 06108       $           -
Impel Pharmaceuticals, Inc.   Premier Research Consulting, LLC      Work Order #237497                                    111 Founders Plaza floor 6, East Hartford, CT 06108       $           -
Impel Pharmaceuticals, Inc.   Premier Research Consulting, LLC      Work Order #237496                                    111 Founders Plaza floor 6, East Hartford, CT 06108       $           -
Impel Pharmaceuticals, Inc.   Premier Research Consulting, LLC      Work Order #19: Preparation and Compilation of        111 Founders Plaza floor 6, East Hartford, CT 06108       $           -
                                                                    Clinical Study Report in ICH Format
Impel Pharmaceuticals, Inc.   Premier Research Consulting, LLC      Proposal for Work Order #18: Submissions for          111 Founders Plaza floor 6, East Hartford, CT 06108       $           -
                                                                    INP105
Impel Pharmaceuticals, Inc.   Premier Research Consulting, LLC      Proposal for Work Order #14: Preparation and          111 Founders Plaza floor 6, East Hartford, CT 06108       $           -
                                                                    Comilation of Clinical Study Report in ICH Format

Impel Pharmaceuticals, Inc.   Premier Research Consulting, LLC      Addendum to Work Order #11 (Camargo Ref. #2018- 111 Founders Plaza floor 6, East Hartford, CT 06108             $           -
                                                                    0188): Provision of Second eCTD Viewer and Support

Impel Pharmaceuticals, Inc.   Premier Research Consulting, LLC      Proposal for Work Order #12: End of Phase 2           111 Founders Plaza floor 6, East Hartford, CT 06108       $           -
                                                                    Meeting Request, Briefing Package and Meeting
                                                                    Attendence
Impel Pharmaceuticals, Inc.   Premier Research Consulting, LLC      Proposal for Work Order #13: Revison and              111 Founders Plaza floor 6, East Hartford, CT 06108       $           -
                                                                    Submission of Updated iPSP for INP104
Impel Pharmaceuticals, Inc.   Premier Research Consulting, LLC      Work Order #10 Camargo Ref# 2018-0267                 111 Founders Plaza floor 6, East Hartford, CT 06108       $           -
Impel Pharmaceuticals, Inc.   Premier Research Consulting, LLC      Proposal for Work Order #11: Provision of eCTD        111 Founders Plaza floor 6, East Hartford, CT 06108       $           -
                                                                    Viewer and User Support
Impel Pharmaceuticals, Inc.   Premier Research Consulting, LLC      Proposal for Work Order #6: Strategic Review and      111 Founders Plaza floor 6, East Hartford, CT 06108       $           -
                                                                    Submission of Type C Meeting Request Letter and
                                                                    Meeting Package, and Review of Written Responses
                                                                    only Related to Safety Study Protocol: POD-DHE for
                                                                    Treatment of Migraines via Nasal Delivery

Impel Pharmaceuticals, Inc.   Premier Research Consulting, LLC      Proposal for Work Order #7: Preparation and           111 Founders Plaza floor 6, East Hartford, CT 06108       $           -
                                                                    Submission of Initial Pediatric Study Plan for POD-
                                                                    DHE for Treatment of Migraines via Nasal Delivery

Impel Pharmaceuticals, Inc.   Premier Research Consulting, LLC      Proposal for Work Order #5: Regulatory            111 Founders Plaza floor 6, East Hartford, CT 06108           $           -
                                                                    Development Program for Dihydroergotamine
                                                                    mesylate and POD device for Treatment of Migraine
                                                                    Headaches
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Impel Pharmaceuticals, Inc.   Premier Research Consulting, LLC              Proposal for Work Order #4: Type C Meeting              111 Founders Plaza floor 6, East Hartford, CT 06108   $           -
                                                                            Request, Meeting Package, and FDA Attendance to
                                                                            Discuss BA/BE Synopsis and Safety Study Outline:
                                                                            POD-Dihydroergotamine Mesylate (DHE) for
                                                                            Treatment of Migraines via Nasal Delivery

Impel Pharmaceuticals, Inc.   Premier Research Consulting, LLC              Proposal for Work Order #3: Hourly Regulatory           111 Founders Plaza floor 6, East Hartford, CT 06108   $           -
                                                                            Consulting Services: Review Statistical Analysis Plan
                                                                            for INP-104 (POD-DHE) for Treatment of Migraines

Impel Pharmaceuticals, Inc.   Premier Research Consulting, LLC              Proposal for Work Order #2: Section 513(g) Device       111 Founders Plaza floor 6, East Hartford, CT 06108   $           -
                                                                            Request for Information: DHE and POD device for
                                                                            Treatment of Migraine Headaches
Impel Pharmaceuticals, Inc.   Premier Research Consulting, LLC              Proposal for Work Order #1, Hourly Regulatory           111 Founders Plaza floor 6, East Hartford, CT 06108   $           -
                                                                            Consulting Services: INP-102 (POD-Insulin) for
                                                                            Treatment of Alzheimer''s Disease
Impel Pharmaceuticals, Inc.   Premier Research Consulting, LLC              Proposal for Regulatory Development for INP-102         111 Founders Plaza floor 6, East Hartford, CT 06108   $           -
                                                                            (POD-Insulin) for Treatment of Alzheimer's Disease

Impel Pharmaceuticals, Inc.   Premier Research Consulting, LLC              Work Order #30                                          111 Founders Plaza floor 6, East Hartford, CT 06108   $           -
Impel Pharmaceuticals, Inc.   Premier Research Consulting, LLC              Work Order #31                                          111 Founders Plaza floor 6, East Hartford, CT 06108   $           -
Impel Pharmaceuticals, Inc.   Premier Research Consulting, LLC              Master Service Agreement                                111 Founders Plaza floor 6, East Hartford, CT 06108   $           -
Impel Pharmaceuticals, Inc.   Pyxant Labs Inc.                              Master Service Agreement                                4720 Forge Road Suite 108 Colorado Spring, CO 80907   $           -

Impel Pharmaceuticals, Inc.   QPharma, Inc.                                 Statement of Work PDMA Suite of Services                22 South St, Morristown, NJ 07960                     $           -
Impel Pharmaceuticals, Inc.   QPharma, Inc.                                 Statement of Work Veeva Validation QPharma              22 South St, Morristown, NJ 07960                     $           -
                                                                            Project #5917
Impel Pharmaceuticals, Inc.   Resources Connection, LLC                     Statement of Work for Lease Accounting Services         17101 Armstrong Ave # 100, Irvine CA 92614            $           -

Impel Pharmaceuticals, Inc.   RJ Kessler Consulting LLC                     Consulting Agreement & SOW #1                           1991 Crocker Road Suite 600a, Westlake, OH 44145      $           -
Impel Pharmaceuticals, Inc.   Sacks & Company, Inc.                         Master Services Agreement                               119 West 57th Street Penthouse North, New York, NY    $           -
                                                                                                                                    10019
Impel Pharmaceuticals, Inc.   ScoutLogic Screening, Inc.                    Background Check Services Agreement                     111 Barclay Blvd Ste 212, Lincolnshire, IL 60069      $           -
Impel Pharmaceuticals, Inc.   Seattle Children's Hospital                   Consulting Agreement & SOW #1                           4800 Sand Point Way NE, Seattle, WA 98105             $           -
Impel Pharmaceuticals, Inc.   SecureDocs, Inc.                              SecureDocs Order Form and Terms and Conditions          6500 Hollister Ave. Suite 110 Goleta, CA 93117        $           -

Impel Pharmaceuticals, Inc.   Sedulo Group, LLC                             Sedulo - 2023 Monthly Monitoring SOW                    1902 Campus Pl # 9A, Louisville, KY 40299             $           -
Impel Pharmaceuticals, Inc.   Source Healthcare Analytics LLC               User Agreement for the Use of the American              731 Arbor Way Ste 100 Blue Bell, PA, 19422-1987       $           -
                                                                            Academy of Physician Assistants Data File Royalty
                                                                            Agreement
Impel Pharmaceuticals, Inc.   Spherix Global Insights US, Inc.              Statement of Work #4                                    760 Constitution Dr, Exton, PA 19341                  $           -
Impel Pharmaceuticals, Inc.   Spherix Global Insights US, Inc.              Master Services Agreement                               760 Constitution Dr, Exton, PA 19341                  $           -
Impel Pharmaceuticals, Inc.   Statistics & Data Corporation (SDC)           SDC Change Order #2_ 22-5284                            63 S Rockford Dr #240, Tempe, AZ 85288                $           -
Impel Pharmaceuticals, Inc.   Statistics & Data Corporation (SDC)           Master Service Agreement                                63 S Rockford Dr #240, Tempe, AZ 85288                $           -
Impel Pharmaceuticals, Inc.   Statistics & Data Corporation (SDC)           Statement of Work                                       63 S Rockford Dr #240, Tempe, AZ 85288                $           -
Impel Pharmaceuticals, Inc.   Statistics & Data Corporation (SDC)           Work Order Amendment #22-5221                           63 S Rockford Dr #240, Tempe, AZ 85288                $           -
Impel Pharmaceuticals, Inc.   Stericycle Enviornmental Solutions, Inc.      Service Agreement for Washington State Customers        2355 Waukegan Road Bannockburn, IL 60015              $           -
                                                                            Only
Impel Pharmaceuticals, Inc.   Stericycle Enviornmental Solutions, Inc.      Proposal - Impel/Light Weight Debris INC16, 30-         2355 Waukegan Road Bannockburn, IL 60015              $           -
                                                                            Gallon Container Minimum Disposal Rates
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Impel Pharmaceuticals, Inc.   Stericycle Enviornmental Solutions, Inc.      Packaging and Relocation of Hazardous Materials    2355 Waukegan Road Bannockburn, IL 60015                   $            -

Impel Pharmaceuticals, Inc.   Sudler & Hennessey, LLC                       Statement of Work #34                              230 Park Ave S # 8, New York, NY 10003                     $            -
Impel Pharmaceuticals, Inc.   Sudler & Hennessey, LLC                       Statement of Work #41                              230 Park Ave S # 8, New York, NY 10003                     $            -
Impel Pharmaceuticals, Inc.   Sudler & Hennessey, LLC                       Statement of Work #9                               230 Park Ave S # 8, New York, NY 10003                     $            -
Impel Pharmaceuticals, Inc.   Sudler & Hennessey, LLC                       Statement of Work #11                              230 Park Ave S # 8, New York, NY 10003                     $            -
Impel Pharmaceuticals, Inc.   Sudler & Hennessey, LLC                       Statement of Work #28                              230 Park Ave S # 8, New York, NY 10003                     $            -
Impel Pharmaceuticals, Inc.   Sudler & Hennessey, LLC                       Statement of work #29                              230 Park Ave S # 8, New York, NY 10003                     $            -
Impel Pharmaceuticals, Inc.   Sudler & Hennessey, LLC                       Sudler & Hennessey, LLC                            230 Park Ave S # 8, New York, NY 10003                     $            -
Impel Pharmaceuticals, Inc.   SYFT Inc.                                     Master Services Agreement 2023 & SOW #1            5701 E Hillsborough Ave Ste 2327, Tampa, Florida, 33610    $            -

Impel Pharmaceuticals, Inc.   Symphony Health Solutions Corporation         Symphony AMA User Agreement 2023                   550 Blair Mill Road Suite 100 Horsham, PA 19044             $           -
Impel Pharmaceuticals, Inc.   Symphony Health Solutions Corporation         SHS request from PDS for 3rd party support for AMA 550 Blair Mill Road Suite 100 Horsham, PA 19044             $           -
                                                                            data
Impel Pharmaceuticals, Inc.   Symphony Health Solutions Corporation         Third Party Data Use Agreement                     550 Blair Mill Road Suite 100 Horsham, PA 19044             $           -
Impel Pharmaceuticals, Inc.   Symphony Health Solutions Corporation         Statement of Work No. 003                          550 Blair Mill Road Suite 100 Horsham, PA 19044             $           -
Impel Pharmaceuticals, Inc.   Symphony Health Solutions Corporation         Statement of Work No. 008                          550 Blair Mill Road Suite 100 Horsham, PA 19044             $           -
Impel Pharmaceuticals, Inc.   Symphony Health Solutions Corporation         Third Party Data Use Agreement                     550 Blair Mill Road Suite 100 Horsham, PA 19044             $           -
Impel Pharmaceuticals, Inc.   TraceLink, Inc.                               Enterprise Agreement                               200 Ballardvale Street Building 1, Suite 100 Wilmington, MA $           -
                                                                                                                               01887
Impel Pharmaceuticals, Inc.   TrnDigital, LLC                               Statement of Work #2                               200 Portland St Floor 5 Boston, MA 02114                    $           -
Impel Pharmaceuticals, Inc.   TrnDigital, LLC                               Statement of Work #5 - IT Support & Advisory       200 Portland St Floor 5 Boston, MA 02114                    $           -
                                                                            Managed Services
Impel Pharmaceuticals, Inc.   TrnDigital, LLC                               Microsoft Cloud Statement of Work 2023             200 Portland St Floor 5 Boston, MA 02114                    $           -
Impel Pharmaceuticals, Inc.   TrnDigital, LLC                               TRN Digital (V2) 2023 Managed services veeva       200 Portland St Floor 5 Boston, MA 02114                    $           -
                                                                            support
Impel Pharmaceuticals, Inc.   TrnDigital, LLC                               Statement of Work #6 - WordPress Branded Website 200 Portland St Floor 5 Boston, MA 02114                      $           -
                                                                            Plugins 2023
Impel Pharmaceuticals, Inc.   TrnDigital, LLC                               Statement of Work - WordPress Brand Hosting 2023 200 Portland St Floor 5 Boston, MA 02114                      $           -

Impel Pharmaceuticals, Inc.   TrnDigital, LLC                               Cisco Hardware Quote                               200 Portland St Floor 5 Boston, MA 02114                   $            -
Impel Pharmaceuticals, Inc.   UL Verification Services, Inc.                Master License and Service Agreement               333 Pfingsten Road Northbrook, IL 60062                    $            -
Impel Pharmaceuticals, Inc.   Up To Date Inc                                Content License Agreement                          230 CityPoint, 230 3rd Ave, United States                  $            -
Impel Pharmaceuticals, Inc.   Uppsala Monitoring Centre                     License Agreement                                  Bredgränd 7 753 20 Uppsala Swede                           $            -
Impel Pharmaceuticals, Inc.   Veeva Systems, Inc.                           Statement of Work #5                               1375 Broadway 3rd floor, New York, NY 10018                $            -
Impel Pharmaceuticals, Inc.   Veeva Systems, Inc.                           Veeva-Symphony TPA User Agreement 2023             1375 Broadway 3rd floor, New York, NY 10018                $            -
Impel Pharmaceuticals, Inc.   Veeva Systems, Inc.                           Veeva Change Order - 2023 Contract rephasing       1375 Broadway 3rd floor, New York, NY 10018                $            -
Impel Pharmaceuticals, Inc.   Veeva Systems, Inc.                           Order Form                                         1375 Broadway 3rd floor, New York, NY 10018                $            -
Impel Pharmaceuticals, Inc.   Veeva Systems, Inc.                           Order Form PromoMats                               1375 Broadway 3rd floor, New York, NY 10018                $            -
Impel Pharmaceuticals, Inc.   Velocita Consulting, LLC                      Consulting Agreement                               55 W 39th St #14n, New York, NY 10018                      $            -
Impel Pharmaceuticals, Inc.   Velocita Consulting, LLC                      Statement of Work #1                               55 W 39th St #14n, New York, NY 10018                      $            -
Impel Pharmaceuticals, Inc.   Velocita Consulting, LLC                      Statement of Work #2                               55 W 39th St #14n, New York, NY 10018                      $            -
Impel Pharmaceuticals, Inc.   Vieira, Dr. Julio                             Consulting Agreement & SOW #1                      1718 Capitol Avenue, Cheyenne, WY 82001                    $            -
Impel Pharmaceuticals, Inc.   Wenzel, Richard                               Consulting Agreement & SOW #1                      5915 Solomon Harmon Way, Whitestown, IN 46075              $            -
Impel Pharmaceuticals, Inc.   WIRB - Copernicus Group, Inc. (WCG)           Master Services Agreement                          212 Carnegie Center Dr # 301, Princeton, NJ 08540          $            -
Impel Pharmaceuticals, Inc.   WIRB - Copernicus Group, Inc. (WCG)           Statement of Work                                  212 Carnegie Center Dr # 301, Princeton, NJ 08540          $            -
Impel Pharmaceuticals, Inc.   WIRB - Copernicus Group, Inc. (WCG)           Change Order #1 to Statement of Work               212 Carnegie Center Dr # 301, Princeton, NJ 08540          $            -
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Impel Pharmaceuticals, Inc.   WIRB - Copernicus Group, Inc. (WCG)      Change Order #2 to Statement of Work              212 Carnegie Center Dr # 301, Princeton, NJ 08540      $           -
Impel Pharmaceuticals, Inc.   XenoTech, LLC                            Master Services Agreement                         1101 West Cambridge Circle Dr. Kansas City, KS 66103   $           -

Impel Pharmaceuticals, Inc.   XenoTech, LLC                            Exhibit A: Statement of Work # XT185123, XT204098 1101 West Cambridge Circle Dr. Kansas City, KS 66103   $           -
